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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

SHARON LEWIS,                                           CIVIL ACTION NO. 3:21-cv-00198
                      Plaintiff
                                                        DISTRICT JUDGE
v.                                                      SUSIE MORGAN

LOUISIANA STATE                                         MAGISTRATE JUDGE
UNIVERSITY, ET AL                                       RICHARD L. BOURGEOIS, JR.
                Defendants

                           MOTION FOR RULE 11 SANCTIONS

       NOW COME, through undersigned counsel, Defendants, W. Shelby McKenzie, Vicki M.

Crochet, and Robert W. Barton (hereinafter collectively the “TP Defendants”), who respectfully

move this Honorable Court to impose appropriate sanctions against plaintiff, Sharon Lewis, and

her counsel, Tammye C. Brown, Bridgett Brown, Albert Van-Lare and Larry English, pursuant to

Federal Rule of Civil Procedure 11, all for the reasons set forth in the attached Memorandum in

Support of Motion for Rule 11 Sanctions.


       Filed this 21st day of June, 2022.


WALTERS, PAPILLION,                                JONES WALKER LLP
THOMAS, CULLENS, LLC

 /s/ J. E. Cullens, Jr.                            /s/ Brandon K. Black
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       Counsel for Defendants, W. Shelby McKenzie, Vicki M. Crochet, and Robert W. Barton
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                              CERTIFICATE OF SERVICE
                          UPON PLAINTIFF AND HER COUNSEL

       Pursuant to Rule 11(c)(2) and Rule 5(b), the undersigned counsel certifies that a copy of

the foregoing Motion for Rule 11 Sanctions and Memorandum in Support of Motion for Rule 11

Sanctions was served on plaintiff, Sharon Lewis, and her counsel, Tammye C. Brown, Bridgett

Brown, Albert Van-Lare and Larry English, via Certified U.S. Mail, via U.S. Mail, postage pre-

paid, and via email to the following addresses:

       Tammye C. Brown                                     Bridgett Brown
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       On the 31st day of March, 2022.

                                                  /s/ J.E. Cullens, Jr.

                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was served on all counsel of record

using the Court’s CM/ECF system, and on any co-defendants who have not yet appeared by U.S.

Mail, this 21st day of June, 2022.

                                                  /s/ J.E. Cullens, Jr.
                                                  J. E. Cullens, Jr.
